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 6
 7                               UNITED STATES DISTRICT COURT

 8                              EASTERN DISTRICT OF CALIFORNIA

 9
10   UNITED STATES OF AMERICA,                            Case No.: 1:13 CR00362 AWI-BAM
11                    Plaintiff(s),                       STIPULATION TO MODIFY
                                                          PRETRIAL RELEASE
12          v.
                                                          CONDITIONS; DECLARATION OF
13   LOUIE CALLES,                                        PETER M. JONES; AND ORDER
               Defendant(s).                              THEREON
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15
16
17
18                    Defendant, LOUIE CALLES, by and through counsel, Peter M. Jones, and

19   Plaintiff, UNITED STATES OF AMERICA, by and through counsel, Benjamin B. Wagner

20   hereby stipulate as follows:

21                    That the condition of Pretrial Release regarding Defendants’ travel be modified

22   to reflect the following: Defendant may travel to the State of Colorado to spend the Christmas

23   Holiday with his daughter, Nicole Calles, who is expecting the birth of Mr. Calles’ first

24   grandchild during the Christmas Holidays. Defendant is to leave no earlier than Wednesday,

25   December 18, 2013, and return to Fresno no later than Wednesday, January 1, 2014; all other

26   conditions of release, not in conflict, shall remain in full force and effect.

27
28                               DECLARATION OF PETER M. JONES
             I, Peter M. Jones, declare as follows:
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 1          1.      I am an attorney admitted to practice before this court, and am counsel of record

 2   for Louie Calles, a Defendant in the above-entitled action.

 3          2.      Mr. Calles informed me that he would like to spend Christmas with his

 4   daughter, Nicole Calles, and be with her when his first grandchild is born. The expected

 5   delivery date is during the Christmas Holiday.

 6          3.      Mr. Calles currently resides in Fresno, CA and is being supervised by pre-trial

 7   release. His daughter, Nicole Calles, resides in Centennial, Colorado.

 8          4.      I have contacted Pretrial Release Officer, Jacob Scott, and informed him of Mr.

 9   Calle’s desire to travel to Colorado. Officer Scott informed me that he had no opposition to

10   Mr. Calle’s traveling to Colorado as stipulated.*

11          5.      I have contacted AUSA Grant Rabenn, and he has agreed to stipulate to the

12   Defendant’s travel request provided there are specific departure and return dates.

13                  I declare under penalty of perjury that the foregoing is true and that this

14   declaration was executed in Fresno, California, on December 6, 2013.

15                                                 ____/s/ Peter M. Jones_________
                                                          Peter M. Jones
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     * (A copy of Mr. Calle’s flight itinerary has been provided to Officer Scott.)
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     Case 1:13-cr-00362-AWI-BAM Document 108 Filed 12/10/13 Page 3 of 3



 1   Dated: December 6, 2013                     Respectfully submitted,

 2
                                                 By: /s/ PETER M. JONES_________________
 3                                                  PETER M. JONES, Attorney for
                                                    Defendant, LOUIE CALLES
 4
 5   Dated: December 6, 2013                     BENJAMIN B. WAGNER, U.S. Attorney
                                                 UNITED STATES ATTORNEY’S OFFICE
 6
 7
                                                 By: /s/ GRANT RABENN_______________
 8                                                       GRANT RABENN,
                                                         Assistant U.S. Attorney
 9
10
11
12
13                                                 ORDER

14
                     Having reviewed the above Stipulation and Good Cause Appearing, it is hereby
15
     ordered that the travel condition of Pretrial Release regarding Defendant, Louie Calles, be
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     modified as follows: He may travel to the State of Colorado to spend the Christmas Holiday
17
     with his daughter, Nicole Calles. He will leave no earlier than Wednesday, December 18, 2013
18
     and return to Fresno, CA no later than Wednesday, January 1, 2014. All other conditions of
19
     release, not in conflict, shall remain in full force and effect.
20
21   IT IS SO ORDERED.
22
         Dated:     December 9, 2013                             /s/ Barbara A. McAuliffe      _
23                                                        UNITED STATES MAGISTRATE JUDGE
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